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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS' RIGHTS
COALITION, ET AL.

                     Plaintiff
                                                     Civil No.                 19-2117        (TJK)
               vs.

DONALD J. TRUMP, ET AL.                             Category D



                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on   07/18/2019     from Judge Christopher R. Cooper

to Judge Timothy J. Kelly                           by direction of the Calendar Committee.



                                   (Randomly Reassigned)


                                                               JUDGE ELLEN S. HUVELLE
                                                               Chair, Calendar and Case
                                                               Management Committee


cc:           Judge Christopher R. Cooper                        & Courtroom Deputy
              Judge Timothy J. Kelly                       & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
